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                                                                                        June 21, 2019
   VIA ECF                               Appplication DENIED. This letter offers no reason to continue
                                         holding this case open in light of the parties' settlement. This case is
   The Honorable Valerie E. Caproni      DISMISSED with prejudice and without costs (including attorneys'
   United States District Judge          fees) to either party SO ORDERED.
   Thurgood Marshall
   United States Courthouse                                                                         6/21/2019
   40 Foley Square
   New York, NY 10007
                                                          HON. VALERIE CAPRONI
                                                          UNITED STATES DISTRICT JUDGE
               Re: Cedric Bishop and On Behalf of All Other Persons Similarly Situated v.
                     McCarthy's Boat Yard, Inc. d/b/a McCarthy's Marine
                                    Case No.: 1:19-cv-02629

   Dear Judge Caproni,
           This firm represents Plaintiff Cedric Bishop and On Behalf of All Other Persons
   Similarly Situated (“Plaintiffs”), in the above-referenced action. The Parties submitted a Notice
   of Settlement (Dkt. 11) on May 20, 2019. In light of Your Honor’s Order (Dkt. 12) on May 23,
   2019, we write to respectfully request that Your Honor grant an extension of thirty days in order
   for the Settlement Agreement to be consummated. The Parties are in the process of
   consummating the agreement and are confident that they will consummate the agreement within
   the next thirty days.
           We appreciate this Court’s and Your Honor’s time and attention to this matter. Thank
   you for your anticipated cooperation in this matter. Should the Court have any questions, please
   do not hesitate to contact the undersigned attorney.


                                                                           Respectfully submitted,
                                                                       GOTTLIEB & ASSOCIATES

                                                                                s/ Jeffrey M. Gottlieb
                                                                                   Jeffrey M. Gottlieb


   cc: All counsel of record (via ECF and email)
